Case 9:18-cv-80386-DMM Document 11 Entered on FLSD Docket 04/20/2018 Page 1 of 1



                          UN ITED STATES DISTRICT CO URT
                          SO UTH ERN DISTR ICT OF FLO RIDA
                  CA SE NO .18-80386-ClV-M lD DLEBR O OK S+ M N NO N

CD S G ULFSTREA M LLC,individually and as
a classon behalfofothersim ilarly situated
individualsand businessentitiesthatwere
induced by D efendantA ndrew Greenbaum a/k/a
A viGreenbaum and DefendantSteve M ichael
a/k/a Steven M ichaelinto investing moniesin
entitiesforrealestate investm ents from and
afterM arch 27,2014,
        Plaintiffs,



AN DREW GREEN BAUM a/k/a Avi
Greenbaum ,STEVE M ICH AEL a/k/a Steven
M ichael,HH GULFSTREA M LLC,and
HUD SON HO LDIN G S LLC,
      Defendants.


                                   O RD ER CLO SIN G CA SE
       THIS CAU SE com es before the Court upon Plaintiffs' Notice of V oluntary Dism issal

withoutPrejudicefiledon April4,2018.(DE 16). PursuanttoRule41(a)oftheFederalRulesof
CivilProcedure,Plaintiffs m ay dism issthisaction againstDefendants by filing a notice ofdism issal

before Defendantsserveeitheranansweroramotionforsummaryjudgment. SeeFed.R.Civ.P.
4l(a)(l)(A)(i).Defendantshavefiledneither.Accordingly,itishereby
       O R DERED AND AD JUDG ED that aIIpending m otions are DEN IED A S M O O T.The

Clerk ofCourtshallCLO SE this case.

       D O NE A ND O RDERED in Cham bers        i
                                                nWestPal
                                                       m Bea ,Flor'da,this/Y dayof
A pril,20l8.



                                                    DO     D M . IDD LEBRO OKS
                                                    UN ITED STATES DISTRICT JUD GE
Copiesto:      CounselofRecord
